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                     EXHIBIT 8
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

FOOD NOT BOMBS HOUSTON,                         §
BRANDON WALSH,                                  §
                                                §
         Plaintiffs                             §
                                                §        C.A. NO. 4:24-CV-338
v.                                              §
                                                §
THE CITY OF HOUSTON, TEXAS,                     §
                                                §
         Defendant                              §
                                                §        Judge Andrew Hanen

         DEFENDANT THE CITY OF HOUSTON, TEXAS’S OBJECTIONS AND
       ANSWERS TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR ADMISSIONS

TO:      Plaintiffs’ Food Not Bombs Houston and Brandon Walsh, by and through their attorney of
         record, Randall Hiroshige, Dustin Rynders and Travis Fife of Texas Civil Rights Project,
         1405 Montopolis, Austin, Texas 78741 and Remington Alessi of Alessi Legal PLLC, PO
         Box 230381, Houston, Texas 77223; and Plaintiff Phillip Picone, by and through his
         attorney of record, Randall Kallinan, Kallinan Law PLLC, 511 Broadway Street, Houston,
         Texas 77012.

         Defendant The City of Houston, Texas (“City” or “Houston”) serves these Objections and

Responses to Plaintiffs’ First Set of Request for Admissions pursuant to Federal Rule of Civil

Procedure 26 and 36.




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       DEFENDANT THE CITY OF HOUSTON, TEXAS’S OBJECTIONS AND
    RESPONSES TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR ADMISSIONS

REQUEST FOR ADMISSION NO. 1:

Admit that Former Mayor Annise Parker designated the Central Houston Public Library Plaza,
located at 500 McKinney, Houston 77002, as an approved charitable food service location for
Food Not Bombs Houston in 2012.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 2:

Admit that in February 2023, the City posted the notices depicted in COH_000003-000008 at the
Central Library.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 3:

Admit that the City has not posted the notices or copies of the notice depicted in COH_000001-
000002 on any City properties other than the Central Library.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 4:

Admit that the Houston Health Department changed its rules and regulations regarding food
service events on public property in 2023.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 5:

Admit that between March 2023 and October 2024, the only City property where the City would
allow charitable food service events was 61 Riesner.

ANSWER: Denied.




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REQUEST FOR ADMISSION NO. 6:

Admit that after March 2023, the City has not approved City properties other than 61 Riesner for
Charitable Food Service events.

ANSWER: Denied.


REQUEST FOR ADMISSION NO. 7:

Admit that 61 Riesner is a former Houston Police Department police station.

ANSWER: Denied.


REQUEST FOR ADMISSION NO. 8:

Admit that Houston Police Department officers are present and on-duty during charitable food
service events at 61 Riesner.

ANSWER: Houston objects to this request as it is vague and unlimited in time and scope. Subject
to the foregoing objections, Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 9:

Admit that, under the City’s Dinner to Home program, the City contracted with Bread of Life to
provide meals to homeless individuals at 61 Riesner four nights a week.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 10:

Admit that, under the City’s Dinner to Home program, Bread of Life provided meals to homeless
individuals at 61 Riesner on Monday, Wednesday, Friday, and Sunday nights from 7:00-8:00p.m.

ANSWER: Admitted as to days of the week Houston contracted with Bread of Life to provide
meals at 61 Riesner. As to the hours of operation and the population served, Houston cannot admit
or deny, therefore denied.


REQUEST FOR ADMISSION NO. 11:

Admit that the City’s Dinner to Home program lasted from November 2022 until July 2024.




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ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 12:

Admit that, at charitable feedings at 61 Riesner, people receive a meal ticket from a Houston Police
Department officer prior to receiving food.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 13:

Admit the City discontinued the Dinner to Home program in 2024.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 14:

Admit that Bread of Life no longer conducts charitable feedings at 61 Riesner four nights a week.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 15:

Admit that Bread of Life no longer conducts regular charitable feedings at 61 Riesner.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 16:

Admit that participating in the Health Department’s charitable food service provider program is
optional for groups or individuals who want to engage in charitable feeding.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 17:

Admit that a private property owner could engage in charitable feeding exclusively on her own
property without participating in the Health Department’s charitable food service provider
program.




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ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 18:

Admit that participating in the Health Department’s Food Handling Training is optional for groups
or individuals engaged in charitable feeding.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 19:

Admit that a certificate issued under the Charitable Food Service Program outlined under Section
20-254 of the Houston City Code is not required prior to conducting charitable food services if the
person or organization has the permission of the property owner to conduct charitable food
services.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 20:

Admit that the Ordinance does not apply to individuals or organizations serving food without
charge, payment or other compensation to others on public property for a purpose other than
benefitting those in need.

ANSWER: Denied.


REQUEST FOR ADMISSION NO. 21:

Admit that the Ordinance does not apply to individuals or organizations providing food without
charge, payment or other compensation to benefit those in need at an indoor location not owned,
leased or controlled by the individual or organization providing the food.

ANSWER: Denied.


REQUEST FOR ADMISSION NO. 22:

Admit that a private property owner could engage in charitable feeding on exclusively her own
property without participating in the Health Department’s Food Handling Training.

ANSWER: Admitted.




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REQUEST FOR ADMISSION NO. 23:

Admit that the only mandatory step under the Ordinance is to obtain the property owner’s consent
before using public or private property for charitable food services.

ANSWER: Admitted.


REQUEST FOR ADMISSION NO. 24:

Admit that the sidewalks surrounding the Central Library are traditional public forums under
United States v. Grace, 461 U.S. 171, 177 (1983) (“‘[P]ublic places’ historically associated with
the free exercise of expressive activities, such as streets, sidewalks, and parks, are considered,
without more, to be ‘public forums.’”) (citations omitted).

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 25:

Admit that, up to and including February 14, 2024, the web page “Facts about Voluntary Homeless
Feeding Registration Program,” depicted in Dkt. 4-13, was accessible on the City’s website at
https://www.houstontx.gov/citizensnet/HomelessFeedingProgram090512.html.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 26:

Admit that the City removed the web page “Facts about Voluntary Homeless Feeding Registration
Program,”      depicted      in     Dkt.    4-13      and      previously    available      at
https://www.houstontx.gov/citizensnet/HomelessFeedingProgram090512.html, from its website
on some date after February 14, 2024.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 27:

Admit that in July 2016, the Parks Department suspended all charitable food service activities in
City parks.

ANSWER: Denied.




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REQUEST FOR ADMISSION NO. 28:

Admit that, during his State of the City address in November 2022, Former Mayor Sylvester Turner
said, “We’re going to retake the downtown central library to make it more wholesome and inviting
to families and to kids … That is a major asset of the city of Houston. We have a few too many
homeless folk and feeding programs in front of Central Houston.”

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 29:

Admit that the charitable feedings described in ¶¶ 19–30 of the Complaint are protected activity
under the First Amendment.

ANSWER: Houston cannot admit or deny, therefore denied.


REQUEST FOR ADMISSION NO. 30:

Admit that the citations and complaints produced by the City at COH000019-COH000127
represent all of the citations the City has issued under the Ordinance.

ANSWER: Houston cannot admit or deny, therefore denied.


                                            Respectfully submitted,

                                            ARTURO G. MICHEL
                                            City Attorney
                                            SUZANNE R. CHAUVIN
                                            Chief, General Litigation Section

                                           By:           /s/ M. Lucille Anderson
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                                                       Sr. Assistant City Attorney III
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                                           ATTORNEYS FOR DEFENDANT
                                           CITY OF HOUSTON



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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 27, 2024, I served the following attorneys with a true
and correct copy of the foregoing document in pursuant to Federal Rules of Civil Procedure via
electronic mail.

Randall Hiroshige                   Vie E-mail: randy@texascivilrightsproject.org
Travis Fife                         Via E-mail: travis@texascivilrightsproject.org
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                                                          /s/ M. Lucille Anderson
                                                          M. Lucille Anderson
                                                          Senior Assistant City Attorney




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